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13                          IN THE UNITED STATES DISTRICT COURT
14                                FOR THE DISTRICT OF ARIZONA
15
     Tyler Bowyer, Michael John Burke, Nancy
16   Cottle, Jake Hoffman, Anthony Kern,                 Case No.: 2:20-cv-02321-DJH
     Christopher M. King, James R. Lamon, Sam
17   Moorhead, Robert Montgomery, Loraine
     Pellegrino, Greg Safsten, Salvatore Luke
18   Scarmardo, Kelli Ward and Michael Ward;             PLAINTIFFS’ MOTION FOR
19                                                       HEARING ON MOTION FOR
                         Plaintiffs;                     PRELIMINARY INJUNCTION
     v.
20
21   Doug Ducey, in his official capacity as
     Governor of the State of Arizona, and Katie
22   Hobbs, in her capacity as Secretary of State
     of the State of Arizona;
23
                         Defendants;
24
     Maricopa County Board of Supervisors;
25   and Adrian Fontes, in his official capacity
     as Maricopa County Recorder;
26
27                       Intervenors.

28   1
         District of Arizona admission scheduled for 12/9/2020.
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 1           COMES NOW Plaintiffs, by and through undersigned counsel, and moves the Court
 2   to schedule a hearing on Plaintiffs’ motion for a preliminary injunction on December 8,
 3   2020 after oral arguments on the motions to dismiss per the court’s order dated December
 4   5, 2020 [Dkt No. 43]. This Motion is brought pursuant to FRCP 65.
 5   In support, Plaintiffs show:
 6   1)      Plaintiffs’ filed a Motion for Temporary Restraining Order, Motion for Preliminary
 7   Injunction on December 2, 2020 to, among other things, decertify the 2020 elections
 8   results. [Doc-2].
 9   2)      Plaintiffs also filed a Motion to Seal on December 2, 2020 [Doc-14].
10   3)      On December 5, 2020, the Court issued a minute order rescheduling a scheduled
11   hearing: IT IS ORDERED the Hearing set for Tuesday, December 8, 2020 at 9:15 AM on
12   Plaintiffs' Motion for Temporary Restraining Order [Doc. 28] is hereby converted to Oral
13   Argument on the pending Motions to Dismiss [Docs. 36, 37, 38, 40.]
14   4)      Each of Defendants’ Motions, 36, 37, 38 and 40, set for argument, constitute a
15   Motion to Dismiss and a Response to Plaintiffs' Motion for Temporary Restraining Order
16   and Preliminary Injunction.
17   5)      The Court further issued the minute order to say: IT IS FURTHER ORDERED the
18   Hearing on Plaintiffs' Motion for Temporary Restraining Order [Doc. 2] is reset to
19   Thursday, December 10, 2020 at 9:30 AM.
20   6)      The parties have fully briefed the Motion for Preliminary Injunction filed December
21   2, 2020.
22   7)      Plaintiffs move, pursuant to FRCP 65, for a hearing on their motion for a preliminary
23   injunction which seeks, among other things, an order decertifying the 2020 Arizona
24   presidential election results. Plaintiffs are Arizona’s Republican Presidential electors.
25   Electors are seated and vote for President on December 14, 2020. If Plaintiffs’ preliminary
26   injunction motion is not set for a hearing immediately, there will be insufficient time for
27   this court to rule and for the parties to obtain appellate review before the claims asserted
28   become moot.

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 1   8)      All parties are on notice of the current date for arguments.
 2   9)      The parties met to confer on December 6, 2020, and discussed merit-based hearing
 3   issues and have exchanged exhibits and witness lists.
 4   10)     There is no prejudice to Defendants since the Plaintiffs’ Motion is fully briefed on
 5   the preliminary injunctive relief.
 6   11)     Accordingly, Plaintiffs respectfully request the Court to schedule a hearing on their
 7   motion for a preliminary injunction commencing December 8, 2020, after oral arguments
 8   on the motions to dismiss.
 9                                        Respectfully submitted this 7th day of December, 2020
10

11
     /s/ Howard Kleinhendler
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19   *Application for admission pro hac vice
     forthcoming
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                                  CERTIFICATE OF SERVICE
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14
           I hereby certify that on December 5th, 2020, I electronically transmitted the
15
     foregoing document to the Clerk’s Office using the CM/ECF System for filing and
16
     transmittal of a Notice of Electronic Filing to the CM/ECF registrants on record.
17

18
     By: /s/ Chris Viskovic
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                        IN THE UNITED STATES DISTRICT COURT
 7
                              FOR THE DISTRICT OF ARIZONA
 8
 9    Tyler Bowyer, Michael John Burke, Nancy Cottle,
      Jake Hoffman, Anthony Kern, Christopher M.           Case No. 2:20-cv-02321-DJH
10    King, James R. Lamon, Sam Moorhead, Robert
      Montgomery, Loraine Pellegrino, Greg Safsten,        PROPOSED ORDER
11    Salvatore Luke Scarmardo, Kelli Ward and
      Michael Ward;                                        GRANTING PLAINTIFFS’
12                                                         MOTION FOR HEARING ON
                         Plaintiffs,                       MOTION FOR PRELIMINARY
13                                                         INJUNCTION
            v.
14
      Doug Ducey, in his official capacity as Governor
15    of the State of Arizona, and Katie Hobbs, in her
      capacity as Secretary of State of the State of
16    Arizona;

17                      Defendants.

18    Maricopa County Board of Supervisors; and
      Adrian Fontes, in his official capacity as
19    Maricopa County Records;

20                       Intervenors.

21         THE COURT has before it Plaintiffs’ Motion for Hearing on Motion for Preliminary
22   Injunction filed December 7, 2020.
23         For the reasons set forth in Plaintiffs’ Motion for Hearing on Motion for Preliminary
24   Injunction and good cause appearing:
25
26         IT IS HEREBY ORDERED THAT:

27
28
     Case 2:20-cv-02321-DJH Document 56-1 Filed 12/07/20 Page 2 of 2



 1       1. A hearing on Plaintiffs’ Motion for Preliminary Injunction be held on December
 2          8, 2020 after oral arguments on the Motions to Dismiss.
 3

 4                                  DATED this _____ day of _________________, 2020.
 5

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 7                                                Honorable ________________________
 8                                                            United States District Judge
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